
17 Cal.App.2d 42 (1936)
THE PEOPLE, Respondent,
v.
MAJOR RAYMOND LISENBA, Appellant.
Crim. No. 2894. 
California Court of Appeals. Second Appellate District, Division Two.  
October 13, 1936.
 R. E. Parsons and William J. Clark for Appellant.
 U.S. Webb, Attorney-General, for Respondent.
 Crail, P. J.
 [1] This is an appeal from a conviction of incest, a felony. The clerk's transcript was filed on June *43 19, 1936. The reporter's transcript was filed July 3, 1936, and the case was ordered on the calendar for August 14, 1936, and due notice given. At the request of defendant the case has been continued six times, the last continuance being to October 9, 1936. The continuance to that date was at the request of the defendant and with full notice and knowledge on his part. At the hearing on that date the defendant did not appear. Neither has a brief been filed on behalf of appellant. Under authority of section 1253 of the Penal Code the judgment is affirmed.
 Judgment affirmed.
 Wood, J., and McComb, J., pro tem., concurred.
